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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

                                   :
UNITED STATES                      :
                                   :
                                   :
v.                                 :       CRIM. NO. 3:14CR81 (JAM)
                                   :
SCOTT ET AL                        :
                                   :

     RULING ON PRETRIAL DISCOVERY MOTIONS AND MOTIONS IN LIMINE

      Pending before the Court are various pretrial discovery

motions and motions in limine filed by several defendants in a

multi-defendant narcotics case.            The pending motions largely

overlap in the relief requested. The government has filed an

omnibus response in opposition, [Doc. #484], to which several

defendants have replied. The Court held a motion hearing on

March 18, 2015, where counsel presented argument on several of

the motions disposed of below.

I.    BACKGROUND
      On April 24, 2014, following a long-term investigation that

included the use of court-authorized electronic surveillance, a

grand jury returned a multi-count indictment charging twenty-

five (25) individuals with various federal narcotics offenses,

including conspiracy to possess with intent to distribute crack

cocaine in violation of 21 U.S.C. §846.            Defendants Melkuan

Scott (“Scott”), Neagmiah Barnett (“Barnett”), Tyshawn McDade

(“McDade”), Arthur Stanley (“Stanley”), Rashawn Dubose

(“Dubose”), Garbiel Horace Williams-Bey (“Williams-Bey”) and

Ricardo Howe (“Howe”) filed various standard discovery and pre-
trial motions.
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     On May 22, 2014, the government provided each defendant1

with voluminous discovery (hereinafter the “May 22 discovery

letter”), including, inter alia, a copy of his or her rap sheet,

a copy of his or her post-arrest statement, audio recordings of

intercepted calls along with draft transcripts, copies of Title

III surveillance applications, affidavits and orders, search

warrant applications and affidavits, copies of pen

register/telephone GPS warrant applications, affidavits and

orders, reports of FBI controlled purchases, surveillance

reports and photo arrays, and the results of scientific tests

performed to date, including DEA laboratory reports. Defendants

have also been provided access to review evidence in the

government‟s custody. [Doc. #484, 2-4].

II. DISCUSSION
A. Motions for Specific Discovery [Doc. ## 415, 429, 437]

     Defendants Scott, Stanley and Dubose seek specific

discovery materials pursuant to Brady v. Maryland, 373 U.S. 83

(1963), United States v. Bagley, 473 U.S. 667 (1985), Kyles v.

Whitley, 514 U.S. 419 (1995), and United States v. Giglio, 405

U.S. 150 (1972). Defendants seek an array of materials, which

largely address the credibility and motivations of the

government‟s cooperating witnesses as well as any exculpatory

information in the government‟s possession.

     The prosecutor represents that, to date, the government is

not aware of any exculpatory information, but that he will

1
 The government provided this information to defendant Gabriel Williams-Bey
subsequent to his arrest, on July 11, 2014.

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promptly disclose any such information should he learn of its

existence. The prosecutor further represents that the government

intends to identify cooperating witnesses and provide law

enforcement interview reports related to the expected testimony

of these witnesses three weeks prior to the start of evidence.

Giglio materials, including criminal histories of any

cooperating witnesses, will also be provided at that time.

    In light of these representations, and for reasons already

stated in the Court‟s prior ruling on similar issues, See Doc.

#323, 2-4, the Court DENIES AS MOOT the defendants‟ motions for

specific discovery [Doc. ## 415, 429, 437].

B. Motions for Disclosure of Evidence of Prior Misconduct and
   Felony Records [Doc. ## 417, 421, 423, 427, 433] and Motions
   in Limine Regarding Gang Affiliation [Doc. # 419]

    Defendants Barnett, McDade and Stanley request that the

Court order the Government to disclose any evidence concerning

any other crimes, wrongs, or acts in accordance with Federal

Rules of Evidence 404(b) that it intends to offer at trial.

Defendants Barnett and McDade also move in limine to preclude
the government from offering in its case in chief evidence of

the defendants‟ bad acts.

    The prosecutor represents that the government has

explicitly recognized in its May 22 discovery letter the

Standing Order‟s requirement that the government disclose any

intention to rely on 404(b) evidence. The prosecutor further




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    states that the government does not currently anticipate

    offering any 404(b) evidence. [Doc. #273, 8].2

         Therefore, based on the information already produced to

defendants and the prosecutor‟s representations on this issue,

on the current record, defendants‟ motions for disclosure of

evidence of prior misconduct and motions in limine re: prior

misconduct [Doc. ## 417, 421, 423, 427, 433] are DENIED AS MOOT

and without prejudice.          If, however, the government concludes at

any time between the issuance of this ruling and the

commencement of trial that it will use prior misconduct evidence

against one or more of the defendants, it shall provide notice

to the affected defendant.

        Defendant Stanley has also filed a motion in limine seeking

to preclude the government from offering evidence relating to

any alleged gang affiliation during the government‟s case-in-

chief. [Doc. #419]. Defendant Stanley argues that testimony

regarding his alleged gang involvement should be excluded

pursuant to Federal Rules of Evidence 403 and 404(b). The

government responds that in the Second Circuit, evidence of gang

affiliation is relevant when used to prove the existence of a

drug trafficking conspiracy. [Doc. #484, 9].

        Federal Rule of Evidence 404(b) provides that, “Evidence of

a crime, wrong, or other act is not admissible to prove a

2
 Each defendant has also been provided a copy of his or her “rap sheet,” and
therefore is at least aware of the scope of some prior misconduct that may
potentially be used at trial. See United States v. Muhammad, Criminal No.
3:12CR00206(AVC), 2013 WL 6091860, at *2 (D. Conn. Nov. 19, 2013) (denying
without prejudice motions for notice of intention to use 404(b) evidence
where government had yet to make determination of whether it would use such
evidence and where defendants were provided criminal history).
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person‟s character in order to show that on a particular

occasion the person acted in accordance with the character.”

Fed. R. Evid. 404(b)(1). However, Rule 404(b) also provides for

an exception to this rule and allows the admissibility of such

evidence “for another purpose, such as proving motive,

opportunity, intent, preparation, plan, knowledge, identity,

absence of mistake, or lack of accident.” Fed. R. Evid.

404(b)(2). “The Second Circuit follows an inclusionary rule,

allowing the admission of such evidence for any purpose other

than to show a defendant‟s criminal propensity, as long as the

evidence is relevant and satisfies the probative-prejudice

balancing test of Rule 403 of the Federal Rules of Evidence.”

Muhammad, 2013 WL 6091860, at *1 (quoting Unites States v.

Inserra, 34 F.3d 83, 89 (2d Cir. 1994)) (internal quotations

omitted).

    The prosecutor proffers that evidence of Stanley‟s gang

affiliation will be
    [O]ffered to show the existence of a relationship between
    Stanley and other members of the drug trafficking
    conspiracy and how that relationship developed. It is the
    Government‟s theory of this case that both the Westhell
    gang and the Team Grease gang are significant players in
    the supply chain of drugs and firearms relevant to this
    case.

[Doc. #484, 9]. The government argues that this information is

probative under Rule 401 and does not create unfair prejudice

under Rule 403.

    First, the Court agrees that evidence of defendant‟s gang

affiliation is relevant under Rule 401 in light of the


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government‟s proffer.3 See United States v. Reyes, No.11cr1

(MRK), 2012 WL 3727995, at *1 (D. Conn. May 1, 2012) (finding

evidence of gang affiliation relevant to demonstrate existence

of a joint venture or conspiracy); see also United States v.

Diaz, 176 F.3d 52, 79 (2d Cir. 1999) (“[I]t is within the

[trial] court‟s discretion to admit evidence of prior acts to

inform the jury of the background of the conspiracy charged, in

order to help explain how the illegal relationship between

participants in the crime developed, or to explain the mutual

trust that existed between coconspirators.” (citation omitted;

alteration in original)); c.f. United States v. Ashburn, No. 11-

CR00303(NGG), 2015 WL 588704, at *13 (E.D.N.Y. Feb. 11, 2015)

(evidence of defendant‟s prior membership of Crips not

admissible where government provided no basis for finding that

defendant‟s prior membership was relevant to existence of

enterprise charged in case or as background evidence of a

criminal conspiracy).

     Having found evidence of defendant‟s gang affiliation

relevant, the Court turns to whether its relevance is outweighed

by the danger of unfair prejudice. The Court finds that it is

not. “As courts regularly recognize, demonstrating the existence

of prejudice alone is not sufficient to exclude relevant and

otherwise admissible evidence, as all evidence that weakens a

party‟s claim results in some prejudice.” Reyes, 2012 WL

3727995, at *1. The evidence must be “unfairly prejudicial,”

3
 Presumably, the Government will be using evidence of defendant Scott‟s gang
affiliation in the same way proffered with respect to defendant Stanley.
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that is, have “an undue tendency to suggest decision on an

improper basis.” Old Chief v. United States, 519 U.S. 172, 180

(1997). After careful consideration, the Court concludes that

although evidence of defendant‟s gang affiliation may be

prejudicial, the prejudice is not unfair in light of the

evidence‟s relevance. Finally, to the extent that this evidence

prejudices defendant, any such risk can be cured through an

appropriately crafted jury instruction.

    Therefore, the Court DENIES defendant‟s motions in limine

[Doc. # 419].

C. Motion to Compel Disclosure of a Summary of Expert Testimony
   Under F. R. Crim. P. 16(a)(1)(G) [Doc. ## 418, 432]
    Defendants Stanley and Barnett seek an order pursuant to

Federal Rule of Criminal Procedure 16(a)(1)(G) compelling the

government to disclose a summary of expert testimony. They claim

that the government‟s May 22 discovery letter “failed to include

a summary of the intended testimony, to describe the bases and

reasons for the proposed experts‟ opinions, or to include the

witnesses‟ qualifications as experts as required by F.R.C.P.
16(a)(1)(G).”

    In response, the prosecutor quotes a portion of the

government‟s May 22 discovery letter, which indicates, inter

alia, that if this matter proceeds to trial, the government will

call DEA chemists to testify as expert witnesses about the

analyses performed on the narcotics in this case and a DEA

and/or FBI agent to testify concerning the nature and

methodology of street drug distribution. Accordingly, on the

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current record, pursuant to paragraph (a)(6) of the standing

order, the government has already provided a written summary of

testimony it intends to offer under Rules 702, 703, or 705

during its case in chief.      The prosecutor further represents

that it will provide the names and addresses for these witnesses

as soon as they are identified, along with the “opinions, the

bases and reasons therefor, and the witness[es‟]

qualifications.” [Doc. #484, 10-11 (alteration in original)]. At

the March 18 motions hearing, counsel for Barnett conceded that

his motion was moot in light of these representations.

     Accordingly, in light of the prosecutor‟s representations,

defendants Stanley and Barnett‟s motions to compel disclosure of

a summary of expert testimony [Doc. ## 418, 432] are DENIED AS

MOOT.

D. Motion for Disclosure of Agents’ Notes [Doc. # 444]

     Defendant Williams-Bey moves for the production of “agents‟

notes pertaining to observations they may have made during

surveillance of the defendant on March 12 [] and March 25, 2014,

and that of any proffer session pertaining to potential

witnesses against him.” [Doc. # 444].

     As an initial matter, the prosecutor represents that, “the

Government has sought to preserve agents‟ notes of interviews

with all witnesses, including any notes of interviews of the

defendants or cooperating witnesses.” [Doc. #484, 19]. The

prosecutor further represents that the government is well aware

of its obligations under Brady, Giglio and Jencks, and will
continue to comply with those obligations, as well as continue
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to screen agent notes for Brady and Giglio material. [Id.]. The

prosecutor also states that the government has provided defense

counsel with the reports of their clients‟ interviews and any

corresponding agent notes.4.

     The Court DENIES defendant Williams-Bey‟s motion for

disclosure of agent notes [Doc. #444] to the extent that it

seeks notes other than interview notes with the defendant

himself. Indeed, to the extent that the requested notes are

considered Jencks material, defendant has provided no authority

to override the rule in this Circuit that a district court‟s

“power to order pretrial disclosure is constrained by the Jencks

Act,” and that the district court may not order advance

disclosure inconsistent with the Jencks Act itself. See United

States v. Coppa, 267 F.3d 132, 145-46 (2d Cir. 2001).5

E. Motion for Early Disclosure of Rule 16(a) and Jencks Act
   Material [Doc. # 445]
    Defendant Williams-Bey seeks early disclosure of Jencks Act

material. Under the Jenks Act, 18 U.S.C. §3500(a), “no statement

or report in the possession of the United States which was made
by a Government witness or prospective Government witness (other

than the defendant) shall be the subject of subpoena, discovery,

or inspection until said witness has testified on direct

examination in the trial of the case.” The Second Circuit has

4
 The prosecutor also represents that defense counsel failed to confer with
the government on this issue in violation of the District‟s Standing Order on
Discovery in Criminal Cases. [Doc. #484, 19]. Nevertheless, the prosecutor
states he will work with defense counsel should counsel request agent
surveillance notes.
5
 See section IIE, infra, for a more detailed discussion of the Jencks Act,
and the government‟s obligations thereunder.
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consistently held that a district court‟s “power to order

pretrial disclosure is constrained by the Jencks Act,” and that

the district court may not order advance disclosure inconsistent

with the Jencks Act itself.     See Coppa, 267 F.3d at 145-46

(reversing district court‟s decision ordering early disclosure

of Jencks Act material); see also United States v. Sebastian,

497 F.2d 1267, 1268-69 (2d Cir. 1974); United States v.

Percevault, 490 F.2d 126, 129 (2d Cir. 1974) (finding that “the

district court did not have statutory authority to compel

disclosure [of Jencks Act material] prior to trial over the

government‟s objection.”).

    Defendant Williams-Bey fails to offer any controlling

authority to override the Jencks Act. He merely “requests that

the Court direct the United States to produce all Jencks Act

materias […] through the utilization of the Court‟s broad

authority to compel efficiency and fairness in the

administration of the criminal process.” [Doc. #445]. Moreover,

the prosecutor represents that the government will provide

defendant with any Jencks material two weeks prior to trial.

[Doc. #484, 20-21]. Therefore, defendant Williams-Bey‟s request

for early disclosure of Jencks material [Doc. #445] is DENIED.

F. Motion to Strike Aliases from Indictment [Doc. #424]
    Defendant McDade seeks to strike “the words „AKA S.Dot and

S Diddy‟ from the indictment as unduly and unnecessarily

prejudicial to his right to a fair trial.” [Doc. #424]. The

government responds that it will offer probative Title III
intercepts of defendant McDade and his coconspirators in which
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he self-identified and was identified by others as “S. Dot” and

“S Diddy.”

    Federal Rule of Criminal Procedure 7(d) provides that,

“[u]pon the defendant‟s motion, the court may strike surplusage

from the indictment or information.” Fed. R. Crim. P. 7(d).

“Motions to strike surplusage from an indictment will be granted

only where the challenged allegations are not relevant to the

crime charged and are inflammatory and prejudicial.” United

States v. Thomas, No. 3:13-CR-00141 (VLB), 2014 WL 2168468, at

*2 (D. Conn. May 23, 2014) (quoting United States v. Elson, 968

F. Supp. 900, 909 (S.D.N.Y. 1997) (internal quotation marks

omitted)). “Aliases and nicknames should not be stricken from an

indictment when evidence regarding those aliases or nicknames

will be presented to the jury at trial.”        Id.

    Here, defendant conclusorily submits that the presence of

his aliases is “highly prejudicial and not probative of any

issues in this matter.” [Doc. #424-1]. He has not proffered any

evidence suggesting that the aliases of “S. Dot” and “S. Diddy”

“will be perceived by the jury as anything other than an

innocuous and colloquial moniker used among acquaintances or

persons from the same neighborhood.” Thomas, 2014 WL 2168468, at

*2. Moreover, based on the government‟s representations, the

aliases are probative in identifying defendant McDade with the

acts charged in the indictment. Indeed, the government sets

forth nearly two pages of Title III intercept summaries in which

McDade self-refers, or is called, “S. Dot” or “S.Diddy.”
Therefore, in light of the government‟s representations, and
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because defendant has failed to show that the aliases are highly

prejudicial, defendant McDade‟s motion to strike aliases from

the indictment [Doc. #424] is DENIED. See United States v.

Smith, No. 3:10-cr-148, 2012 WL 2338707 (D. Conn. June 19, 2012)

(denying motion to strike references to aliases from the

indictment because the government represented that the aliases

were relevant to the charges).

G. Motion in Limine re: Rap Video [Doc. #446]
    Defendant Howe moves to exclude a video allegedly depicting

him and defendant Scott performing at a rap concert in January

2014. [Doc. #446]. The government responds that it only intends

to offer a limited portion of the video depicting defendants

Scott and Howe performing “West to the Wall.” The government

represents that “West to the Wall” is a geographical area of

Westland Street and Cornwall Street in the North End of Hartford

and that the trial evidence will show that the Westhell and Team

Grease drug trafficking organizations controlled drug sales in

these areas.

    The Court has had an opportunity to review the portion of
the video which the government intends to introduce at trial.

The Court has also heard arguments of counsel. On the current

record, and at this stage of the proceedings, the Court is

inclined to deny defendant‟s motion in limine. The video is not

unduly prejudicial and appears to fall within the parameters of

Federal Rule of Evidence 801(d)(2)(E), which provides that a

statement is “not hearsay if […] [it] is offered against a party
and is […] a statement by a coconspirator of a party during the
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course and in furtherance of the conspiracy.” Fed. R. Evid.

801(d)(2)(E).

     Nevertheless, it may be premature to dispose of this motion

at this stage of the proceedings. Indeed, Judge Meyer, who will

proceed over this trial, will likely be in the best position to

determine the video‟s admissibility in light of the evidence

then before him, the foundation laid for the video‟s

introduction, and whether the government does in fact seek to

introduce the video. Therefore, the Court DENIES without

prejudice to renewal at trial defendant Howe‟s motion in limine.

[Doc. #446]. The prosecutor will provide advance notice to

defense counsel and the Court prior to introducing the video.

III. CONCLUSION
     Accordingly, for the reasons stated the Court:

     (A) DENIES AS MOOT the defendants‟ motions for specific

discovery [Doc. ## 415, 429, 437];

     (B) DENIES AS MOOT and without prejudice defendants‟

motions disclosure of evidence of prior misconduct and felony
records [Doc. ## 417, 421, 423, 427, 433], and DENIES

defendant‟s motion in limine regarding gang affiliation [Doc. #

419];

     (C) DENIES AS MOOT defendants‟ motions to compel disclosure

of a summary of expert testimony [Doc. ## 418, 432];

     (D) DENIES defendant‟s motion for disclosure of agent notes

[Doc. # 444];



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    (E) DENIES defendant‟s motion for early disclosure of

Jencks material [Doc. # 445];

    (F) DENIES defendant motion to strike aliases from the

indictment [Doc. # 424]; and

    (G) DENIES without prejudice to renewal at trial defendant

Howe‟s motion in limine. [Doc. #446].

    This is not a recommended ruling.        This is a non-

dispositive discovery ruling and order which is reviewable

pursuant to the "clearly erroneous" statutory standard of

review.   28 U.S.C. § 636 (b)(1)(A); Fed. R. Crim. P. 59(a).                As

such, it is an order of the Court unless reversed or modified by

the district judge upon motion timely made April March 2015.



                                 _____/s/_____________________
                                 HOLLY B. FITZSIMMONS
                                 UNITED STATES MAGISTRATE JUDGE




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